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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE                          )
COMPANY,                                            )
                                                    )
            Plaintiff,                              )
                                                    )
      vs.                                           )           Case No. 4:24-cv-01277-MTS
                                                    )
RIVERDALE PACKAGING                                 )
CORPORATION, et al.,                                )
                                                    )
            Defendants.                             )

                           ORDER SETTING RULE 16 CONFERENCE

       IT IS HEREBY ORDERED that:

       1.         Scheduling Conference: A Scheduling Conference pursuant to Federal Rule of

Civil Procedure 16 is set for Thursday, January 09, 2025, at 1:30 p.m. in Courtroom 16-South.

At the scheduling conference, counsel will be expected to discuss in detail all matters covered by

Federal Rule of Civil Procedure 16, as well as all matters set forth in their joint proposed

scheduling plan described in paragraph 3, and a firm and realistic trial setting will be established

at or shortly after the conference.

       2.         Meeting of Counsel:     Prior to the date for submission of the joint proposed

scheduling plan set forth in paragraph 3 below, counsel for the parties shall meet to discuss the

following:

              a. the nature and basis of the parties’ claims and defenses,

              b. the possibilities for a prompt settlement or resolution of the case,

              c. the formulation of a discovery plan,

              d. any issues relating to preserving discoverable information,
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            e. any issues relating to disclosure or discovery of electronically stored information

                including –

                    i. the form or forms in which it should be produced,

                   ii. the topics for such discovery and the time period for which such discovery

                       will be sought,

                   iii. the various sources of such information within a party’s control that

                       should be searched for electronically stored information, and

                   iv. whether the information is reasonably accessible to the party that has it, in

                       terms of the burden and cost of retrieving and reviewing the information.

            f. any issues relating to claims of privilege or of protection as trial-preparation

                material, including—if the parties agree on a procedure to assert such claims after

                production—whether to ask the Court to include their agreement in an order,

            g. other topics listed below or in Federal Rule of Civil Procedure 16 and 26(f).

         Counsel will be asked to report orally on the matters discussed at this meeting when they

appear before the undersigned for the scheduling conference and will specifically be asked to

report on the potential for settlement; whether settlement demands or offers have been

exchanged, without revealing the content of any offers or demands; and suitability for

Alternative Dispute Resolution. This meeting is expected to result in the parties reaching

agreement on the form and content of a joint proposed scheduling plan as descried in paragraph 3

below.

         Only one proposed scheduling plan may be submitted in any case, and it must be signed

by counsel for all parties. It will be the responsibility of counsel for Plaintiff to submit the joint

proposed scheduling plan to the Court. If the parties cannot agree as to any matter required to be


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contained in the joint plan, the disagreement must be set out clearly in the joint proposal, and the

Court will resolve the dispute at or shortly after the scheduling conference.

         3.      Joint Proposed Scheduling Plan: Plaintiff must file the Joint Proposed

Scheduling Plan with the Clerk of the Court no later than Tuesday, January 07, 2025. All dates

required to be set forth in the plan shall be within the ranges set forth below for the applicable

track:

 Track 1: Expedited                   Track 2: Standard                    Track 3: Complex

 *Disposition w/in 12 mos of filing   *Disposition w/in 18 mos of filing   *Disposition w/in 24 mos of filing

 *120 days for discovery              *180–240 days from R16 Conf for      *240–360 days from R16 Conf for

                                       discovery/dispositive motions        discovery/dispositive motions

         The parties joint proposed scheduling plan shall include:

              a. Whether the Track Assignment is Appropriate. This case has been assigned to

                 Track 2: Standard;

              b. Dates for joinder of additional parties or amendment of pleadings;

              c. A discovery plan including:

                       i. any agreed-upon provisions for disclosure or discovery of electronically

                           stored information,

                      ii. any agreements the parties reach for asserting claims of privilege or of

                           protection as trial-preparation material after production,

                     iii. a date or dates by which the parties will disclose information and

                           exchange documents pursuant to Federal Rule of Civil Procedure 26(a)(1),

                     iv. whether discovery should be conducted in phases or limited to certain

                           issues,



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               v. dates by which each party shall disclose its expert witnesses’ identities and

                   reports, and dates by which each party shall make its expert witnesses

                   available for deposition, giving consideration as to whether serial or

                   simultaneous disclosure is appropriate in the case,

               vi. whether the presumptive limit of ten (10) depositions per side as set forth

                   in Federal Rule of Civil Procedure 30(a)(2)(A), and twenty-five (25)

                   interrogatories per party as set forth in Federal Rule of Civil Procedure

                   33(a), should apply in this case, and, if not, the reasons for the variance

                   from the Rules,

              vii. whether any physical or mental examinations of parties will be requested

                   pursuant to federal rule of civil procedure 35 and, if so, by what date that

                   request will be made and the date the examination will be completed,

              viii. a date by which all discovery will be completed. See applicable track

                   range, Section 3. above.,

               ix. any other matters pertinent to the completion of discovery in this case,

               x. the parties’ positions concerning the referral of the action to mediation or

                   early neutral evaluation, and when such a referral would be most

                   productive.

         d. Dates for filing any motions to dismiss, motions for summary judgment, or, if

            applicable, any motion to exclude testimony pursuant to Daubert v. Merrell Dow

            Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kuhmo Tire Co. v. Carmichael,

            526 U.S. 137 (1999). See applicable track range, Section 3. above;




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            e. The earliest date by which this case could reasonably be expected to be ready for

               trial;

            f. An estimate of the length of time expected to try the case to verdict; and

            g. Any other matters counsel deems appropriate for inclusion in the joint proposed

               scheduling plan.

       4.      Disclosure Statements: All parties are reminded to comply with Local Rule 2.09

regarding Disclosure Statements.

       5.      Pro Se Parties: If any party appears in this action pro se, such party shall meet

with all other parties or counsel, participate in the preparation and filing of a joint proposed

scheduling plan, and appear for the scheduling conference, all in the same manner as otherwise

required by this Order.

       Dated this 23rd day of December 2024.



                                               MATTHEW T. SCHELP
                                               UNITED STATES DISTRICT JUDGE




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